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             EXHIBIT B-5
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                                                             Appellate E-Filing System                                            Charles Burnham
                 District of Columbia                C-Track, the browser based CMS for Appellate Courts
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  Cases                                   Case Information: 22-BG-0059
   Case Search                                                        IN RE JAMES B. CLARK, BAR                                  Bar Governance -
                                          Short Caption:              REGISTRATION NO. 445315, BOARD             Classification: Bar - Sealed -
   Participant Search
                                                                      DOCKET NO. 22-BD-39                                        Disciplinary
                                          Superior Court or
                                          Agency Case                 DDN2021-D193                               Filed Date:     02/03/2022
                                          Number:


                                          Opening Event
                                          Date:
                                                                      02/03/2022                                 Case Status:    Decided/Dismissed
                                                                                                                 Post-Decision
                                          Record Completed:                                                      Matter
                                                                                                                 Pending:

                                          Briefs Completed:

                                          Argued/Submitted:
                                                                                                                 Next
                                          Disposition:                                                           Scheduled
                                                                                                                 Action:

                                          Mandate Issued:




                                                E-File on this case



                                          Party Information

                                          Appellate Role Party Name                        IFP     Attorney(s)           Arguing Attorney       E-Filer

                                          Petitioner           Bar Counsel                  N      Hamilton P. Fox                 N              Y

                                                                                                   Jason Horrell                   N              Y

                                          Petitioner           Board on Professional        N      James T. Phalen                 N              Y
                                                               Responsibility
                                                                                                   Lucy E. Pittman                 N              Y

                                          Respondent           Jeffrey B. Clark             N      Charles Burnham                 N              Y


                                          Events

                                          Event Date         Status   Description                                                      Result      PDF

                                          02/03/2022 Filed            Bar Counsel's Motion To Enforce Subpoena duces tecum.

                                          02/14/2022 Filed            Appearance by Charles Burnham, Esquire. (Respondent)
                                                                      Consent Motion For Extension Of Time to File opposition.
                                          02/14/2022 Filed                                                                             Granted
                                                                      (Respondent)
                                                                      Order Granting Motion for extension of time to file
                                          02/15/2022 Filed
                                                                      opposition.
                                                                      Consent Motion to Exceed Length Limitations.
                                          02/15/2022 Filed                                                                             Granted
                                                                      (Respondent)
                                                                      Response to Motion to Compel and Cross-Motion to
                                          02/15/2022 Filed
                                                                      quash. (Respondent)
                                                                      Disciplinary Counsel's Reply to Respondent's Opposition


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                                          02/18/2022 Filed    to Motion to compel and Cross motion to quash                  Denied
                                                              subpoena: Additional Factual Statements (Petitioner Bar        as Moot
                                                              Counsel)
                                          02/21/2022 Filed    Reply in Support of Cross-motion to Quash.
                                                              Consent Motion for leave to supplement the record.
                                          03/11/2022 Filed                                                                   Granted
                                                              (Petitioner Bar Counsel)
                                                              Response to Disciplinary counsel's consent motion for
                                          03/14/2022 Filed
                                                              leave to supplement the record .(Respondent)
                                                              Motion for Leave to Reply to Respondent's March 15,
                                          03/17/2022 Filed                                                                   Granted
                                                              2022, Pleading (Petitioner Bar Counsel)
                                          08/04/2022 Filed    Motion to Unseal (Petitioner Bar Counsel)                      Granted

                                          08/11/2022 Filed    Answer/Response to Motion to unseal (Respondent)
                                                              Disciplinary Counsel's opposition to respondent's cross-
                                                              motion to stay proceedings before the Board on
                                          08/15/2022 Filed
                                                              Professional Responsibility pending resolution in this court
                                                              (Petitioner Bar Counsel)
                                                              Reply brief in support of Cross motion to Stay
                                                              proceedings before the Board Of Professional
                                          08/18/2022 Filed
                                                              responsibility pending resolution in this court.
                                                              (Respondent)
                                                              Letter Received submitting relevant supplemental
                                          08/31/2022 Lodged
                                                              authority. (Respondent)
                                                              ORDER granting the motion to unseal, denying motion to
                                          09/15/2022 Filed    quash the subpoena, and denying motion to compel as
                                                              moot.




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